                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION


UNITED STATES OF AMERICA,                     )
                                              )
                               Plaintiff,     )
                                              )
                       v.                     )             No. 10-4052-04-CR-C-FJG
                                              )
JEFFREY CORDELL PATTERSON,                    )
                                              )
                               Defendant.     )

                            REPORT AND RECOMMENDATION
                             CONCERNING PLEA OF GUILTY

       Defendant Jeffrey Cordell Patterson, by consent, appeared before the undersigned on
March 18, 2013, pursuant to Rule 11 of the Federal Rules of Criminal Procedure, Local Rule
72(c)(1)(j), and 28 U.S.C. § 636, and has entered a plea of guilty to Count One of the Second
Superseding Indictment filed on June 23, 2011. After cautioning and examining the defendant,
under oath, in accordance with the requirements of Rule 11, it was determined that the guilty
plea was made with full knowledge of the charge and the consequences of pleading guilty, was
voluntary, and that the offense to which the defendant has plead guilty is supported by a factual
basis for each of the essential elements of the offense.
       IT IS, THEREFORE, RECOMMENDED that the plea of guilty be accepted and that
defendant Jeffrey Cordell Patterson be adjudged guilty and have sentence imposed accordingly.
       Failure to file written objections to this Report and Recommendation within fourteen (14)
days from the date of its filing will bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).
       Dated this 18th day of March, 2013, at Jefferson City, Missouri.



                                              /s/   Matt J. Whitworth
                                              MATT J. WHITWORTH
                                              United States Magistrate Judge




       Case 2:10-cr-04052-FJG           Document 127       Filed 03/19/13      Page 1 of 1
